             Case 6:15-bk-07120-KSJ         Doc 84    Filed 03/30/18     Page 1 of 6



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:                                               Case No. 6:15-bk-07120-CCJ
                                                     Chapter 7
HBC Facilities, LLC

             Debtor.
______________________________/

                      NOTICE OF PRODUCTION FROM NON-PARTY

         YOU ARE NOTIFIED that on April 5, 2018, after 4:00 p.m., if no objection is received from

any party the undersigned will issue the attached subpoena directed to HABIF, AROGETI &

WYNNE, LLP, by and through its Registered Agent, Joseph D. Simms, 5565 Glenridge Connector,

Suite 200, Atlanta, GA 30342, to produce the items listed at the time and place specified in the

attached subpoena.

         Dated March 30, 2018.


                                                     /s/ Ryan E. Davis
                                                     Ryan E. Davis, Esquire
                                                     Florida Bar No. 0179851
                                                     rdavis@whww.com
                                                     WINDERWEEDLE, HAINES, WARD
                                                       & WOODMAN, P.A.
                                                     Post Office Box 880
                                                     Winter Park, FL 32790-0880
                                                     (407) 423-4246
                                                     (407) 645-3728 (facsimile)
                                                     Attorneys for Lori Patton, Chapter 7 Trustee
            Case 6:15-bk-07120-KSJ       Doc 84    Filed 03/30/18    Page 2 of 6




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 30, 2018, a true copy of the foregoing has been

delivered via:

CM/ECF to:

United States Trustee, George C Young Federal Building, 400 West Washington Street, Suite 1100
Orlando, FL 32801
Kenneth D. Herron, Jr., Herron Hill Law Group, PLLC, 135 W. Central Blvd., Ste. 650, Orlando,
FL 32801
Lori Patton, Trustee, P.O Box 520547, Longwood, FL 32752

U.S. Mail to:

HBC Facilities, LLC, 1540 International Parkway, Suite 3070, Lake Mary, FL 32746


                                                  /s/ Ryan E. Davis
                                                  Ryan E. Davis, Esquire
B2570 (Form 2570 – Subpoena toCase    6:15-bk-07120-KSJ
                              Produce Documents,                         Doc
                                                 Information, or Objects or     84 Inspection
                                                                            To Permit Filed in03/30/18        Page
                                                                                               a Bankruptcy Case       3 of Proceeding)
                                                                                                                 or Adversary 6         (12/15)

                                    UNITED STATES BANKRUPTCY COURT
  _________________________________________
                               jáÇÇäÉ       District of _________________________________________
                                                          cäçêáÇ~
       e_`=c~ÅáäáíáÉëI=ii`
In re __________________________________________
                                  Debtor
                                                                                          SWNRJÄâJMTNOMJ``g
                                                                                Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                          T
                                                                                Chapter ___________
_________________________________________
                                  Plaintiff
                         v.                                                     Adv. Proc. No. ________________
__________________________________________
                                Defendant

        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
        INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
       e~ÄáÑI=^êçÖÉíá=C=tóååÉI=iimI=Äó=~åÇ=íÜêçìÖÜ=áíë=oÉÖáëíÉêÉÇ=^ÖÉåíI=gçëÉéÜ=aK=páããëI=
  To: ________________________________________________________________________________________
       RRSR=däÉåêáÇÖÉ=`çååÉÅíçêI=pìáíÉ=OMMI=^íä~åí~I=d^=PMPQO
                                                       (Name of person to whom the subpoena is directed)

  u  Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material: == pÉÉ=^íí~ÅÜÉÇ=bñÜáÄáí=?^?

  PLACE                                                                                                DATE AND TIME
  táåÇÉêïÉÉÇäÉI=e~áåÉëI=t~êÇ=C=tççÇã~åI=m^
  POV=m~êâ=^îÉåìÉ=kçêíÜI=OåÇ=cäççêI=táåíÉê=m~êâI=ci=POTUV                                               April 27, 2017, at 10:00 a.m.

      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

  Date: _____________
                                  CLERK OF COURT

                                                                                OR
                                  ________________________                             ________________________
                                  Signature of Clerk or Deputy Clerk                        Attorney’s signature

  The name, address, email address, and telephone number of the attorney representing (name of party) içêá=m~ííçåI=
   `Ü~éíÉê=T=qêìëíÉÉ
  ____________________________       , who issues or requests this subpoena, are:
  oó~å=bK=a~îáëI=bëèìáêÉI=POV=m~êâ=^îÉåìÉ=kçêíÜI=OåÇ=cäççêI=táåíÉê=m~êâI=ci=POTUVX=êÇ~îáë]ïÜïïKÅçãX=QMTJOQSJUSUR
                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
B2570 (Form 2570 – Subpoena Case
                            to Produce6:15-bk-07120-KSJ                Doc
                                       Documents, Information, or Objects or To 84      Filed 03/30/18
                                                                                Permit Inspection                 Page
                                                                                                  in a Bankruptcy Case     4 of 6Proceeding) (Page 2)
                                                                                                                       or Adversary



                                                              PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any): ______________________________________________
on (date) __________ .

   I served the subpoena by delivering a copy to the named person as follows: ____________________________________
___________________________________________________________________________________________________
__________________________________ on (date) ___________________ ; or

   I returned the subpoena unexecuted because: ____________________________________________________________
___________________________________________________________________________________________________

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the
witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of $ _______________________ .

 My fees are $ _________ for travel and $_________ for services, for a total of $_________ .


          I declare under penalty of perjury that this information is true and correct.

Date: _______________
                                                                                 ________________________________________________
                                                                                                             Server’s signature

                                                                                 ________________________________________________
                                                                                                           Printed name and title


                                                                                 ________________________________________________
                                                                                                              Server’s address


Additional information concerning attempted service, etc.:
B2570 (Form 2570 – Subpoena Case
                            to Produce6:15-bk-07120-KSJ                Doc
                                       Documents, Information, or Objects or To 84      Filed 03/30/18
                                                                                Permit Inspection                 Page
                                                                                                  in a Bankruptcy Case     5 of 6Proceeding) (Page 3)
                                                                                                                       or Adversary


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it.


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
     Case 6:15-bk-07120-KSJ       Doc 84     Filed 03/30/18     Page 6 of 6




                                  Exhibit A



1.     Any and all tax returns of HBC Facilities, LLC, for the years 2012 through 2015.

2.     Any and all tax returns of Harrison Brown Construction, Inc. for the years 2012
       through 2015.

3.     Any and all financial statements of HBC Facilities, LLC or HBC, Inc. for the years
       2012 through 2015.

4.     Your file related to HBC Facilities, LLC and HBC, Inc.

5.     Any and all correspondence with Cary Siegel related to HBC Facilities, LLC or HBC,
       Inc.
